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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-CR-80181-RUIZ/REINHART

   UNITED STATES OF AMERICA

   v.

   MINAL PATEL, a/k/a “Minalkumar Patel,”

                         Defendant.
                                           _______/

   UNITED STATES’ MOTION TO COMPEL RECIPROCAL DISCOVERY, INCLUDING
     DISCOVERY REGARDING DEFENDANT’S ADVICE-OF-COUNSEL DEFENSE

          The United States of America, through counsel, respectfully moves the Court for an order

   requiring Defendant Minal Patel (“Defendant” or “Patel”) to produce to the Government

   immediately the identities of all attorneys, and all documents and communications pertaining to

   the advice they provided, to the extent such attorneys and advice pertain in any way to the conduct

   at issue in the Superseding Indictment. Defendant has asserted an advice-of-counsel defense and,

   under well-settled law, must produce discovery pertaining to this defense. The Government has

   repeatedly requested discovery on this issue since 2020, yet Defendant has not made a single

   production of advice-of-counsel discovery to the Government. In fact, Defendant has asserted

   privilege over documents and communications with attorneys at issue, has narrowed the scope of

   the waiver he originally provided, and has declined to search for and produce documents within

   his possession that the Government has made clear it does not have (such as records that pre-date

   the temporal scope of the Government’s search warrants). The only way for the Government to

   ensure that it has complete and timely discovery on this issue is for the Court to compel Defendant

   to produce records to the Government.
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                                     FACTUAL BACKGROUND

          A.      The Indictment

          Defendant was originally indicted on September 24, 2019, for his role in a genetic testing

   fraud scheme. [See D.E. 1 “Indictment”]. On September 8, 2022, the grand jury returned a

   Superseding Indictment. [See D.E. 275 “Superseding Indictment”]. The Superseding Indictment

   charges fewer overall counts than the original Indictment. Count 1 in the Superseding Indictment

   charges the same overarching health care fraud and wire fraud conspiracy as the original

   Indictment, spanning from approximately July 2016 through approximately August 2019.

   [Superseding Indictment at 8].      Counts 2–4 in the Superseding Indictment allege different

   substantive health care fraud counts than were alleged in the original Indictment. [See Indictment

   at 13–14; Superseding Indictment at 13–14.] Count 5 alleges the same overarching to defraud the

   United States and pay health care kickbacks, although some overt acts have been revised. Counts

   6–9 of the Superseding Indictment allege substantive counts of payment of kickbacks, one of

   which (Count 6) is the same as the original Indictment and some of which (Counts 7–9) are new.

   [See Indictment at 18–19; Superseding Indictment at 18–19]. The money laundering conspiracy

   alleged in Count 10 is unchanged from the original Indictment.

          In connection with this scheme, Defendant committed numerous distinct crimes through

   his role as owner and operator of LabSolutions, LLC (“LabSolutions”), a laboratory enrolled with

   Medicare. In sum, the Superseding Indictment alleges that Defendant paid kickbacks to patient

   brokers in exchange for referring patients, including signed doctors’ orders, for medically

   unnecessary genetic tests billed to Medicare. These orders were fueled by kickbacks paid by

   patient brokers to telemedicine companies to provide prescriptions for these tests, even though the

   telemedicine doctors were not treating the patients, did not use the test results in the treatment of




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   the patients, and often never communicated the results of the tests to the patients at all. Defendant

   and others then conspired to launder the proceeds of this fraud.

            B.     The United States’ Requests for Advice-of-Counsel Disclosures

            During the pendency of these proceedings, both in public and in conversations between the

   Government and various defense counsel, Defendant has consistently maintained that he will assert

   an advice-of-counsel defense. The Government requested discovery underlying this defense as

   early as 2020. In February 2020, Defendant claimed that, although Defendant had already chosen

   to assert an advice-of-counsel defense before receiving all of the Government’s discovery, he

   could not begin to fulfill his own discovery obligations until the Government’s discovery

   productions were complete. In 2021, Defendant took the position that the Government had the

   “vast amount” of the underlying discovery and that he was not required to produce or identify

   additional materials. See Exhibit C. It was not until 2022 that Defendant provided a waiver of

   attorney-client privilege to enable the Government to investigate this defense. Even then, although

   Defendant had agreed to a waiver in principle by January 24, 2022, Defendant did not return the

   signed waiver to the Government until July 1, 2022, despite multiple attempts by the Government

   to obtain the waiver in the intervening months. See Exhibit A.

            On August 10, 2022, the Government submitted a letter to Defendant’s counsel, via email,

   requesting discovery regarding the advice-of-counsel defense by August 25, 2022, and citing

   authority for the request. See Exhibit B. On August 26, 2022, after the Government had received

   no such disclosures, the Government requested Defendant’s position on a motion to compel. The

   parties have since conferred multiple times via email and phone, but have been unable to reach

   agreement as to the scope of Defendant’s obligations. The parties’ conferences are summarized

   below:




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         •   On August 30, 2022, the parties conferred via telephone regarding the Government’s

             discovery requests. On the call, the Government agreed that, to lessen the burden on

             the defense, the defense could simply identify Bates numbers of documents previously

             produced to Defendant by the Filter Team that pertain to the advice-of-counsel defense,

             and produce any additional documents in Defendant’s possession, custody, or control

             that pertain to this defense.

         •   On September 2, 2022, one of Defendant’s attorneys advised that he would “confirm

             [] ASAP” if Defendant had not yet waived privilege to the Filter Team of any materials

             pertinent to the defense but declined to “provide to [the Government] specific

             documents that we will introduce in support of the advice of counsel defense.” The

             Government responded the same day to clarify that it was not seeking an exhibit list at

             this time, but rather discovery. See Exhibit C.

         •   On September 6, 2022, one of Defendant’s attorneys advised that the Government

             “will, in fact, have everything shortly” and that Defendant was checking whether any

             additional documents existed to ensure that the Government “will have the universe of

             documents from which the exhibits will be drawn.” The same day, the parties again

             conferred by phone, wherein Defendant, through one of his attorneys, agreed to: (a)

             identify all Bates ranges of material produced by the Government to Defendant that

             pertain to advice-of-counsel (to save Defendant the burden of re-producing any such

             material to the Government); (b) produce any additional materials in Defendant’s

             possession, custody, or control.

         •   When Government counsel sought to confirm this agreement via email, a different

             attorney for Defendant responded, indicating that Defendant did not intend to identify



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               his exhibits at this point. The Government again clarified that it was seeking discovery

               and not exhibits, to which Defendant replied that the Government already has such

               discovery from its own productions. See Exhibit C.

          •    The parties conferred again by phone on September 22, 2022, during which time the

               Government provided specific examples of documents that were not in the prosecution

               team’s possession, either because Defendant had asserted privilege over them or

               because they pre-dated the date range that the Government was authorized to seize in

               search warrants. The defense nonetheless reiterated that it would re-examine its

               privilege assertions but that, otherwise, the Government already had everything

               pertaining to the advice-of-counsel defense.

          As of the filing of this motion, the Government has not received discovery from Defendant

   pertaining to the advice-of-counsel defense and the Government has not received any additional

   notices of waiver or retraction of prior privilege assertions. Although the Government knows the

   identities of several attorneys involved in advising Defendant, the Government does not even have

   from Defendant a list of all attorneys from whom Defendant sought advice at any point pertaining

   to the allegations at issue in the Superseding Indictment. The Government cannot adequately

   prepare for trial absent further disclosures from Defendant.

          C.      The Prosecution Team Does Not Have All Advice-of-Counsel Discovery

          While the Government seized an immense volume of material from Defendant and

   LabSolutions, and therefore the Government already has a significant amount of material

   pertaining to the legal advice Defendant received, the prosecution team does not have possession

   of: (1) material outside the scope of search warrants, such as material that pre-dates the date range




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   of material the Government was authorized to seize; 1 (2) material over which Defendant has

   asserted privilege; and (3) material created after the execution of search warrants.

          The Government’s search warrants in this matter generally authorized the Government to

   seize materials from approximately January 2017 to August 2019. Discovery obtained in late

   September 2022 from attorneys involved in advising Defendant, such as invoices and engagement

   letters, reveals that Defendant engaged some of the attorneys at issue as early as 2015, well outside

   the scope of the search warrants. 2

          In addition, although Defendant promised on multiple occasions in August and September

   2022 to revisit his prior privilege assertions in this case, Defendant has not yet delivered new

   privilege logs or otherwise reversed his prior privilege assertions.

          Furthermore, discovery obtained by the Government from the attorneys who advised

   Defendant on the subject matters at issue in the indictment confirms that the Government does not




   1
           The Government has sought discovery directly from the attorneys are received some
   materials that pre-date the search warrants. However, Defendant should also be required to
   produce this material. Importantly, and as the Government has explained to defense counsel, one
   of the law firms at issue has since been acquired and the acquiring firm’s retention policies do not
   extend back to 2015. Therefore, the only materials available are materials that happened to be
   saved. Defendant should be required to search his own records for this material to ensure the
   Government obtains complete discovery.
   2
          Here is one example, from which the Government has redacted the client-matter number,
   attorney name, and counterparty name for purposes of this filing:




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   have all discoverable material. For example, the documents include legal bills between Defendant

   and attorneys that are heavily redacted based on Defendant’s assertions of privilege, including

   within the time of the alleged conspiracy. The legal bills also confirm that these attorneys provided

   legal advice both before and after the conspiracy period alleged in the indictment. The legal bills

   further confirm that these attorneys advised Defendant on the “DOJ Investigation/Genetics

   Testing,” and even had phone calls with a former prosecutor on this case, which somehow

   Defendant is now asserting are privileged and not within the scope of his waiver. See, e.g., Exhibit

   D at 60, 70, 112–14, 194–99, 204, 206, 208.

           For example, the following snapshot reflects only a few entries from a legal bill from

   August 2019, within the conspiracy period and before Defendant was originally indicted, where

   Attorney 1, Attorney 2, and Attorney 4 (all attorneys on Defendant’s waiver whose names have

   been anonymized by the Government) apparently advised on issues underlying the Government’s

   investigation. Entire blocks of these legal bills were redacted when they were provided to the

   Government because Defendant asserted privilege to the law firm that produced these materials to

   the Government. The Government can only assume that it did not receive the underlying

   communications and records pertaining to the advice reflected within this heavily redacted

   invoice. 3




   3
           The redactions containing text overlays were applied by the Government to protect witness
   privacy. However, the blocked redactions in the “description” column were applied by the law
   firm that produced the invoices to the Government, on the basis of Defendant’s privilege
   assertions. This is just one of many examples in the legal invoices that reveal the breadth of
   material that the Government has not been provided and over which Defendant asserts privilege.


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                                         LEGAL STANDARD

          A.      Defendant’s Rule 16(b)(1)(A) Requirements

          Rule 16(b)(1) of the Federal Rules of Criminal Procedure defines in very specific terms a

   defendant’s mandatory obligation to provide reciprocal discovery to the Government. The rule

   provides that if a defendant requests discovery from the United States, and the United States

   complies with the request, a defendant “must” permit the United States to inspect or to copy

   records in a defendant’s possession that he intends to use in its case-in-chief-at trial. A defendant

   must produce all items supporting its case, even if the Government may possess them already or

   provided them previously in its discovery. See, e.g., United States v. Crinel, 2016 WL 5779778,

   at *2 (E.D. La. Oct. 4, 2016) (“a defendant is required to produce all required materials, including

   those already in the government’s possession”); United States v. Holden, No. 13-CR-00444, 2015



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   WL 1514569, at *6 (D. Or. Mar. 19. 2015) (“evidence that Defendant originally received from the

   government . . . is not exempt from Defendant’s reciprocal-discovery obligations”); United States

   v. Hsia, No. 98-CR-0057, 2000 WL 195067, at *1–*3 (D.D.C. Jan. 21, 2000) (rejecting

   defendant’s arguments that she had no reciprocal discovery to provide to the United States because

   (1) the only documents in her possession were provided by the United States and (2) she only

   intended to introduce evidence through the cross-examination of government witnesses, holding

   that Rule 16 requires the defendant to turn over all such documents, regardless of their source).

          Moreover, Rule 16(b)(1)(A) applies to all items that the defense will use to support its case,

   not merely those items that the defense will introduce after the Government rests. Specifically,

   the phrase “defendant’s case-in-chief at trial” as stated in Rule 16(b)(1)(A) applies to evidence that

   a defendant intends to present during the examination of the Government’s witnesses to support

   his or her defense, as well as to evidence that the defendant intends to present at trial after the

   Government rests its case (although Rule 16(b)(1)) does not require a defendant to disclose

   evidence that defendant intends to use only for purposes of impeachment). See, e.g., United States

   v. Napout, 2017 WL 6375729, *5 (E.D.N.Y. 2017) (“Rule 16 requires Defendants to identify all

   non-impeachment exhibits they intend to use in their defense at trial, whether the exhibits will be

   introduced through a government witness or a witness called by a Defendant. . . . [W]here a

   defendant cross-examines a government witness to buttress[ ] her theory of the case, rather than to

   impeach the testimony given by the witness on direct examination, [t]he cross-examination . . . is

   properly seen as part of the defendant’s case-in-chief[.]”) (citation and quotation marks omitted);

   see also United States v. Aiyaswamy, 2017 WL 1365228, *5 (N.D. Cal. Apr. 14, 2017) (“Defendant

   must disclose and produce substantive, non-impeachment evidence . . . whether Defendant plans

   to introduce that evidence during cross-examination or after the Government rests.”); Crinel, 2016




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   WL 5779778, at *3 (same); United States v. Larkin, 2015 WL 4415506, *5 (D. Nev. July 20, 2015)

   (“Rule 16, however, does not allow the defendant to have it both ways, i.e., she cannot obtain the

   government's evidence without disclosing her own evidence (other than impeachment

   evidence).”); Holden, 2015 WL 1514569, at *6 (D. Or. Mar. 19, 2015) (same); United States v.

   Swenson, 298 F.R.D. 474, 477 (D. Idaho 2014) (“[B]ecause of the immense volume of data

   produced by the Government . . . the requirements of Rule 16 can only be satisfied by identifying

   the specific documents which the Defendant intends to use at trial.”); Hsia, 2000 WL 195067, at

   *2 (same); United States v. Waddell, 2016 WL 3031698, *3 (S.D. Ga. May 25, 2016) (“[I]f a

   defendant tries to introduce evidence through a government witness during cross-examination for

   purposes of providing his innocence, that’s not impeachment but in fact part of the defendant’s

   case-in-chief . . .”).

           Relatedly, Rule 26.2 of the Federal Rules of Criminal Procedure requires Defendant to

   produce any statements, as defined in Rule 26.2(f), of any witness whom Defendant intends to call

   at trial. The rule was designed to place the disclosure of prior relevant statements of a defense

   witness in the possession of the defense on the same legal footing as the disclosure of prior

   statements of prosecution witnesses in the hands of the Government under the Jencks Act, 18

   U.S.C. § 3500. See Advisory Committee Notes to Fed. R. Crim. P. 26.2. “The rule, with minor

   exceptions, makes the procedure identical for both prosecution and defense witnesses, including

   the provision directing the court, whenever a claim is made that discovery would be improper

   because the statement contains irrelevant matter, to examine the statements in camera and excise

   such matter as should not be disclosed.” Id.




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          B.      Defendant’s Discovery Obligations Relating to the Advice-of-Counsel Defense

          “[T]to qualify for an instruction on good faith reliance on advice of counsel, a defendant

   must show that (1) he fully disclosed to his attorney all material facts that are relevant to the advice

   for which he consulted the attorney; and (2) thereafter, he relied in good faith on advice given by

   his attorney.” United States v. Hill, 643 F.3d 807, 849–50 (11th Cir. 2011); see also United States

   v. Johnson, 139 F.3d 1359, 1366 (11th Cir. 1998) (approving jury instruction that “good faith

   reliance upon the advice of counsel requires not only full and complete disclosure of the facts then

   known but also of material facts or information later acquired”). A district court may properly

   decline to give such an instruction “if it lacks evidentiary support or is based upon mere suspicion

   or speculation.” United States v. Condon, 132 F.3d 653, 656 (11th Cir. 1998) (holding that district

   court did not err in denying advice-of-counsel instruction) (internal quotations omitted). The

   defendant bears the burden of proof because good faith reliance on advice-of-counsel is an

   affirmative defense. United States v. Vernon, 723 F.3d 1234, 1269 (11th Cir. 2013) (rejecting

   defendant’s argument that no reasonable jury could have rejected his good faith reliance on advice-

   of-counsel defense).

          When a defendant asserts an advice-of-counsel defense, the defendant waives the attorney-

   client privilege as to the subject matter of that advice. See, e.g., United States v. Jensen, 573 F.

   App’x 863, 870 (11th Cir. 2014) (“By claiming that [he] lacked intent to defraud because attorneys

   told him that [the disputed] transactions were legal, [defendant] waived the attorney-client

   privilege with respect to communications with counsel concerning [their] legality.”); see also

   United States v. Bilzerian, 926 F.2d 1285, 1292 (2d Cir. 1991) (holding that defendant’s testimony

   he sought to introduce regarding his good faith attempt to comply with the securities laws put his

   knowledge of the law and the basis for his understanding of what the law required in issue, thus




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   waiving privilege of conversations with counsel regarding the legality of his schemes). In addition,

   “[a] client’s assertion of an advice of counsel defense also waives work product immunity as to all

   work product concerning the subject matter at issue other than pure legal opinion not

   communicated to the client.” United States v. Bachynsky, 2007 WL 1521499, at *3 (S.D. Fla. May

   22, 2007) (citing In re EchoStar Communications Corp., 448 F.3d 1294, 1302-04 (Fed. Cir. 2006)).

          It follows that a party raising an advice-of-counsel defense “must permit discovery of any

   and all legal advice rendered on the disputed issue” and failure to allow such discovery requires

   the “exclusion of any evidence” of said defense. Inmuno Vital v. Telemundo, 203 F.R.D. 561, 564

   (S.D. Fla. 2001) (emphasis added). “Although the Federal Rules of Criminal Procedure do not

   specifically require defendants to provide pretrial notice of an advice-of-counsel defense, courts

   have broad discretion to impose disclosure and notice requirements outside the rules.” United

   States v. Crowder, 325 F. Supp. 3d 131, 138 (D.D.C. 2019).

          Indeed, in a Medicare fraud case centered on a very similar genetic testing fraud scheme,

   which went to trial early last year, the court required the defendant to produce evidence underlying

   an advice-of-counsel defense and excluded the defense when such material was not produced.

   United States v. Scott, 19-cr-209-PGB-LRH [D.E. 34] (M.D. Fla. Mar. 9, 2020). This is consistent

   with rulings from this district. See Bachynsky, 2007 WL 1521499, at *2 (granting Government’s

   motion for pretrial production of defendant’s communications with counsel where defendant

   intended to assert advice of counsel defense in securities fraud and wire fraud trial); United States

   v. Robert Shapiro, Case No. 19-CR-20178-ALTONAGA/GOODMAN, [D.E. 108] at p. 2 (S.D.

   Fla. July 8, 2019) (adopting the reasoning of Crowder and stating that “if Defendant does not

   provide notice and discovery of his communications with attorneys which form the basis of his

   anticipated advice-of-counsel defense, the Government will be forced, in the middle of trial, to




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   request the Court halt the trial in order for the Government to review a large quantity of new

   information . . . the Court does not sanction a trial process that anticipates and rushes headlong

   into such delay and inefficiency”); 4 see also United States v. Senthil Ramamurthy, Case No. 18-

   CR-20710- ALTONAGA/GOODMAN, [D.E. 276] at pp. 4-5 (S.D. Fla. Nov. 27, 2019) (same); 5

   United States v. Matthew Pisoni, No. 15-CR-20399-CR-GAYLES [D.E. 126] (S.D. Fla. Dec. 10,

   2015) (paperless order setting pre-trial deadline for defense production of “all documents they

   intend to use at trial to support their advice of counsel defense”); United States v. Liberty, 2020

   WL 6386388, at *3 (D. Me. Oct. 30, 2020) (“if either Defendant intends to pursue an involvement-

   of-counsel argument, he shall identify the counsel at issue and produce all documents that relate

   to that argument” by one month before trial); United States v. Scali, 2018 WL 461441, at *8

   (S.D.N.Y. Jan. 18, 2018) (ordering defendant to “produce all discovery relating to any advice of

   counsel defense” and setting status conference to assess whether defendant “has proffered the

   factual prerequisites of an advice of counsel defense”).

                                             ARGUMENT

          The Court should compel Defendant to immediately produce all information pertaining to

   his advice-of-counsel defense. On multiple occasions, the Government has requested relevant

   disclosures and, at times, believed such disclosures were forthcoming. 6 To date, however, the

   Government has received no discovery from Defendant on this issue, despite indications from



   4
          Judge Altonaga’s order is attached hereto as Exhibit E.
   5
          Magistrate Judge Goodman’s order is attached hereto as Exhibit F.
   6
           The Government first asserted its demand for reciprocal discovery when it filed its First
   Response to the Standing Discovery Order on October 11, 2019. [D.E. No. 18.] The Government
   also specifically requested discovery regarding the advice-of-counsel via emails in February 2020
   and June 2021, and in a letter dated August 10, 2022, and has continuously requested such
   disclosures since that time.


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   Defendant that additional documents may exist. Indeed, while the Government agrees that it has

   a substantial amount of material pertaining to this defense from the Government’s own

   investigative efforts, that does not excuse Defendant from his discovery obligations, nor does it

   mean that the Government has all discovery to which it is entitled.           To the contrary, the

   Government has identified discoverable material that is not in the prosecution team’s possession,

   as well as categories of information that exist but which Defendant refuses to produce because he

   claims they somehow remain privileged. Until the Government can confirm that it has all

   discoverable information, the Government is hamstrung in its ability to investigate this defense.

   The Government seeks to ensure the parties are prepared for trial, limit any surprises at trial, and

   enable the Government to properly investigate this defense well in advance of trial.

   I.     DEFENDANT IS OBLIGATED TO PRODUCE IMMEDIATELY ALL ADVICE-
          OF-COUNSEL DISCOVERY.

          Defendant has made clear his intention to assert an advice-of-counsel defense and the

   Government has requested discovery. As such, Defendant is obligated to produce discovery on

   this issue, including the identities of all attorneys from whom Defendant sought advice on the

   subjects at issue in the indictment, and all communications and documents pertaining to that

   advice. See, e.g., Shapiro, Case No. 19-CR-20178-ALTONAGA, [D.E. 108] at p. 2 (S.D. Fla.

   July 8, 2019) (“if Defendant does not provide notice and discovery of his communications with

   attorneys which form the basis of his anticipated advice-of-counsel defense, the Government will

   be forced, in the middle of trial, to request the Court halt the trial in order for the Government to

   review a large quantity of new information”); Crowder, 325 F. Supp. 3d at 138 (“Although the

   Federal Rules of Criminal Procedure do not specifically require defendants to provide pretrial

   notice of an advice-of-counsel defense, courts have broad discretion to impose disclosure and

   notice requirements outside the rules.”); Liberty, 2020 WL 6386388, at *3 (“if either Defendant



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   intends to pursue an involvement-of-counsel argument, he shall identify the counsel at issue and

   produce all documents that relate to that argument” by one month before trial); Scali, 2018 WL

   461441, at *8 (ordering defendant to “produce all discovery relating to any advice of counsel

   defense” and setting status conference to assess whether defendant “has proffered the factual

   prerequisites of an advice of counsel defense”).

          Defendant has not produced a single document to the Government pertaining to legal

   advice he received. Defendant is therefore in default of his discovery obligations. Defendant’s

   responses to the Government’s repeated requests for such discovery are unavailing and have served

   only to delay the Government’s ability to obtain complete discovery. As an initial matter,

   Defendant has continuously indicated that additional discoverable documents might exist that are

   not in the prosecution team’s possession but has not produced them or even confirmed if they in

   fact exist. For example, defense counsel has indicated that there are documents over which

   Defendant previously asserted privilege that may in fact be discoverable in light of Defendant’s

   subsequent waiver of privilege. But until Defendant retracts his privilege assertions, the Filter

   Team is not authorized to produce that material to the prosecution team. While Defendant

   promised that this review would be complete in September, it has not been completed.

          Defendant has also stated that the Government already has most, if not all, of the documents

   pertaining to this defense. That the Government might possess information through another source

   does not relieve Defendant of his own discovery obligations. See, e.g., Crinel, 2016 WL 5779778,

   at *2. That is particularly true in a case with such voluminous discovery, much of which was

   produced to Defendant by a Filter Team. See Swenson, 298 F.R.D. at 477–78 (rejecting defense

   argument that their Rule 16 obligations were not triggered until government filed an exhibit list

   and holding that “because of the immense volume of data produced by the Government—measured




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   in terabytes—the requirements of Rule 16 can only be satisfied by identifying the specific

   documents which the Defendant intends to use at trial”). 7

          Furthermore, the Government does not have all documents pertaining to this defense.

   While Defendant continues to point to the material the Government seized as part of its search

   warrants in this case in support of his argument that the Government has all discovery on the

   advice-of-counsel defense, those search warrants generally did not authorize the Government to

   seize material before January 2017. Here, the legal invoices confirm that some of the attorneys at

   issue began advising Defendant in 2015. Defendant’s legal advice on the conduct at issue before

   the alleged conspiracy period is certainly relevant to his advice-of-counsel defense. See Exhibit

   D at 202. Defendant must search for and produce all material pertaining to this defense to the

   Government.

   II.    DEFENDANT’S SELECTIVE WAIVER IS IMPROPER.

          It is axiomatic that the attorney-client privilege was intended as a shield, not a sword. A

   defendant who asserts an advice-of-counsel defense waives the attorney-client privilege as to the

   subject matter of that advice. See, e.g., Jensen, 573 F. App’x at 870 (“By claiming that [he] lacked

   intent to defraud because attorneys told him that [the disputed] transactions were legal, [defendant]

   waived the attorney-client privilege with respect to communications with counsel concerning

   [their] legality.”); Bilzerian, 926 F.2d at 1292 (“[T]he privilege may implicitly be waived when

   defendant asserts a claim that in fairness requires examination of protected communications.”).




   7
           To facilitate Defendant’s ability to satisfy his obligations in the least burdensome way, the
   Government will agree that Defendant may identify to the Government the Bates ranges of
   documents pertaining to this defense that are in his possession, including the Bates ranges of
   privilege-asserted materials withheld by the Filter Team. This should be a simple endeavor
   because Defendant’s counsel previously reviewed and asserted privilege over material produced
   to them by the Filter Team.


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          Despite the applicable law clearly requiring Defendant to waive privilege over all relevant

   advice on the subject matters at issue, Defendant’s written waiver only applies to communications

   with certain attorneys before September 1, 2019. The law firms from which the Government

   recently subpoenaed records have indicated that Defendant has narrowed that waiver and is now

   asserting privilege over communications after July 31, 2019, and communications pertaining to

   government investigations, even if they pertain to genetic testing, telemedicine, and marketing

   arrangements. As a result, one law firm that employed three of the attorneys at issue, and which

   recently produced documents to the Government in response to trial subpoenas, heavily redacted

   legal invoices, clawed back material initially produced, and refused to produce material over which

   Defendant asserts privilege.

          The legal bills are replete with redactions or references to material that the Government

   does not have and over which Defendant continues to assert privilege. Defendant appears to be

   drawing a distinction between regulatory compliance advice and advice in response to

   investigations. Defendant cannot have it both ways. He cannot assert that he lacked criminal

   intent because attorneys approved his conduct yet preclude the Government from fully examining

   the knowledge of these attorneys and advice they provided. It does not matter whether the attorney

   learned material facts in the course of providing regulatory compliance advice, or whether the

   attorney learned the material facts while advising on government investigations of Defendant or

   related players.   Likewise, anything the attorney said to Defendant or his representatives

   concerning the validity of his advice to Defendant, or about the validity of Defendant’s conduct,

   is relevant to the advice-of-counsel defense, even if it post-dates that advice. If that material is in

   Defendant’s possession, custody, or control, he must produce it. And he cannot interfere with the

   Government’s ability to obtain such material directly from the attorneys.




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          In addition to being squarely relevant to the elements of an advice-of-counsel defense, the

   information is relevant to the attorney’s motivations for testifying and is likely discoverable under

   Rule 26.2. It is apparent from the legal bills that at least some of the attorneys at issue consulted

   with Defendant and/or his current criminal defense attorneys both before and after Defendant was

   indicted. Indeed, even as late as 2022, one of the key attorneys at issue who represented Defendant

   beginning in 2015 was apparently being blind copied by Defendant’s criminal defense attorneys

   on communications with the Government regarding the advice-of-counsel defense.                  The

   Government discovered this when the attorney inadvertently “replied all” to an email, revealing

   that he was a concealed participant in the email chain between the Government and the criminal

   defense team. This attorney’s ongoing communication with the defense team may be relevant to

   his motivations for testifying. And, in the course of such communications, the attorney may have

   disclosed information that reveals what he knew, or what he did not know, when he advised

   Defendant. The attorney may also have reflected on the substance or validity of his prior advice

   or provided opinions on Defendant’s conduct. That is all relevant and discoverable information.

          The Government is sensitive to Defendant’s likely concern that the production of such

   information may reveal Defendant’s criminal defense strategy. Defendant’s criminal defense

   counsel are among the most sophisticated and experienced criminal trial counsel in the country

   and they knew to excise regulatory counsel from continued representation of the Defendant

   immediately in order to preserve the integrity of an advice-of-counsel defense. In any event, the

   Government is not interested in learning about Defendant’s defense strategy and does not object

   to appropriate redactions of criminal counsel’s statements in any emails or documents that contain

   discoverable information. Furthermore, the Government does not object to the Court reviewing

   this material in camera to determine whether the materials or any portion thereof should be




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   provided to the United States. But the fact that criminal defense counsel chose to communicate

   with regulatory counsel, or the fact that Defendant remained in communication with regulatory

   counsel after becoming aware of criminal investigations, does not create an exception to the scope

   of the waiver and discovery required for Defendant to assert an advice-of-counsel defense.

                                            CONCLUSION

          WHEREFORE, the United States respectfully requests that the Court order Defendant to

   immediately produce discovery pertaining to an advice-of-counsel defense, including a list of all

   attorneys from which Defendant sought advice on the subjects at issue in the indictment, and all

   communications with or regarding these attorneys (including all such communications with

   Defendant’s or LabSolutions’ representatives that may bear on the scope of the attorney’s advice).

   If such material is not provided, the Government respectfully requests that the Court exclude any

   evidence pertaining to the advice of attorneys.




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                                    RULE 88.9 CERTIFICATION

          Counsel for the Government certifies that they attempted in good faith to confer with

   counsel for the defense to resolve the issues raised in this Motion, and the parties have been unable

   to reach agreement.

   Dated: October 3, 2022                Respectfully submitted,

                                         JUAN ANTONIO GONZALEZ
                                         UNITED STATES ATTORNEY
                                         SOUTHERN DISTRICT OF FLORIDA

                                         GLENN S. LEON, CHIEF
                                         CRIMINAL DIVISION, FRAUD SECTION
                                         U.S. DEPARTMENT OF JUSTICE

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                                   CERTIFICATE OF SERVICE

          I hereby certify that, on October 3, 2022, I served and filed the forgoing document with the
   Clerk of the Court via ECF.

                                         By:     /s/ Jamie de Boer




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